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                                                                  Return Date:, May 17th, 2018
                                                                  Time: 2:30 P.M.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                  Chapter 13
                                                                  Case No. 17-10867 CGM
UDODI DURO,
                                                                  NOTICE OF MOTION
                                         Debtor
- -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    PLEASE TAKE NOTICE, that upon the annexed application of the Chapter 13

Trustee herein, a motion will be made before the Hon. Cecelia G. Morris, United States

Bankruptcy Judge, at the United States Courthouse, located at One Bowling Green, New York,

New York, on the 17th day of May, 2018 at 2:30 P.M for an order dismissing the Chapter 13

case pursuant to 11 U.S.C. § 1307 (c)(1) on the ground that there has been unreasonable delay by

the debtor that is prejudicial to creditors, and (c )(4) in that the debtor failed to remit timely plan

payments to the trustee demonstrating good faith and feasibility; and for such other and further

relief as this Court deems just and proper.

                    PLEASE TAKE FURTHER NOTICE, that answering papers, if any, are to be

served on the undersigned and filed with the Court no later than three (3) days prior to the return

date of this motion, and must comply with the Bankruptcy Court's electronic filing system in

accordance with General Order M-242 and Supplemental General Order M-269.

Dated: White Plains, New York
       March 12th, 2018
                                                                  /s/ Krista M. Preuss________
                                                                  Krista M. Preuss (KMP7299)
                                                                  Chapter 13 Trustee
                                                                  399 Knollwood Road
                                                                  White Plains, New York 10603
                                                                  Chapter 13 Tel. 914-328-6333
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TO:   United States Trustee
      201 Varick Street # 1006
      New York, New York 10014

      Udodi Duro
      1863 Andrews Avenue
      Bronx, New York 10453

      Adrian J. Johnson
      Claudio & Johnson, LLC
      280 Amboy Avenue # 3
      Metuchen, New Jersey 08840

      William B. Stock, Esq.
      3935 Blackstone Avenue # 9
      Riverdale, New York 10471

      Wells Fargo Bank, NA
      c/o Shapiro DiCaro & Barak, LLC
      One Huntington Quadrangle # 3N05
      Melville, New York 11747

      U. S. Bank National Association
      c/o Wells Fargo Bank, NA
      1000 Blue Gentian Road
      N9286-01Y
      Eagan, Minnesota 55121
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                  Chapter 13
                                                                  Case No. 17-10867 CGM
UDODI DURO,
                                                                  APPLICATION
                                         Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
TO THE HON. CECELIA G. MORRIS, BANKRUPTCY JUDGE:

          1.        The debtor filed the instant voluntary Chapter 13 proceeding on April 1st, 2017.

          2.        The debtor is in violation of 11 U.S.C. §1307 (c ) (1) and (c )(4).

          3.        The debtor has failed to remit timely plan payments to the trustee, having

remitted eight payments, and being, at this juncture, three months arrears.

          4.        The debtor's plan is not feasible in that the debtor is unable to remit monthly

payments as required under 11 U.S.C. § 1325 (a)(6) and § 1326(a)(1).

          5.        The debtor’s plan is deemed insufficient and infeasible.

          6.        Loss mitigation has been denied and terminated.

          7.        The debtor has created unreasonable delay that is prejudicial to creditors..

          WHEREFORE, this Chapter 13 case should be dismissed pursuant to 11 U.S.C. §1307

(c)(1) and (c)(4).


Dated: White Plains, New York
       March 12th, 2018
                                                                        /s/ Krista M. Preuss__
                                                                        Krista M. Preuss
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 17-10867 CGM
UDODI DURO,



                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                        CERTIFICATE OF SERVICE


                    Lois Rosemarie Esposito, duly certifies:

                    I am not a party to the action herein, I am over the age of 18 years and reside in

the County of Westchester, State of New York.

                    On March 12th, 2018 I served a true copy of the within document, to the herein

listed parties at the address(es) designated for that purpose, by mailing same in a properly sealed

envelope with postage prepaid thereon, in an official depository of the United States Postal

Service within the State of New York to the following:

TO:       United States Trustee
          201 Varick Street # 1006
          New York, New York 10014

          Udodi Duro
          1863 Andrews Avenue
          Bronx, New York 10453

          Adrian J. Johnson
          Claudio & Johnson, LLC
          280 Amboy Avenue # 3
          Metuchen, New Jersey 08840
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      Melville, New York 11747

      U. S. Bank National Association
      c/o Wells Fargo Bank, NA
      1000 Blue Gentian Road
      N9286-01Y
      Eagan, Minnesota 55121




                                                      ___/s/ Lois Rosemarie Esposito___
                                                              Lois Rosemarie Esposito
